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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-845V
                                          UNPUBLISHED


    MARLENE GALLICHAN,                                          Chief Special Master Corcoran

                         Petitioner,                            Filed: May 24, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Douglas Lee Burdette, Burdette Law, Sahuarita, AZ, for Petitioner.

Wei Kit Tai, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION 1

       On June 7, 2019, Marlene Gallichan filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a Table Injury – Shoulder Injury
Related to Vaccine Administration (SIRVA) – as a result of her September 17, 2018
influneza (“flu”) vaccination. Petition at 1; Stipulation, filed at May 24, 2022, ¶¶ 1-2, 4.
Petitioner further alleges the vaccine was administered within the United States, that she
suffered the residual effects of her injury for more than six months, and that there has
been no prior award or settlement of a civil action on her behalf as a result of her injury.
Stipulation at ¶¶ 3-5; see Petition at ¶¶ 3, 10-11. “Respondent denies that [P]etitioner
sustained a SIRVA Table injury; denies that the vaccine caused [P]etitioner’s alleged
shoulder injury or any other injury; and denies that her current condition is a sequela of a
vaccine-related injury.” Stipulation at ¶ 6.


1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, on May 24, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $17,500.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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                  THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


 MARLENE GALLICHAN,

                         Petitioner,

 V.                                                      No. 19-845V
                                                         Chief Special Master Corcoran
 SECRETARY OF HEALTH AND                                 ECF
 HUMAN SERVICES,

                         Respondent.



                                            STIPULATION

The parties hereby stipulate to the following matters:

        I. Marlene Gallichan ("petitioner") filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-l0 to -34 (the "Vaccine

Act"). The petition seeks compensation for injuries allegedly related to petitioner's receipt of an

influenza ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"),

42 C.F.R. § 100.3(a).

       2. Petitioner received a flu vaccine on September 17, 2018 in her left arm.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that she sustained a left-sided shoulder injury related to vaccine

administration ("SIRVA") within the time period set forth in the Table, or in the alternative, that

her alleged shoulder injury was caused by the vaccine. She further alleges that she experienced

residual effects of this alleged injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of her condition.
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        6. Respondent denies that petitioner sustained a SIRVA Table injury; denies that the

vaccine caused petitioner's alleged shoulder injury or any other injury; and denies that her

current condition is a sequela of a vaccine-related injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2l(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

        A lump sum of $17,500.00 in the form of a check payable to petitioner. This amount
        represents compensation for all damages that would be available under 42 U.S.C.
        § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-2l(a)(l), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incmTed in proceeding upon this

petition.

        I 0. Petitioner and her attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U .S.C. § 300aa-l 5(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et seq.)), or entities that provide health services on a pre-paid basis.
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        11. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity and on behalf of her heirs, executors, administrators, successors and/or

assigns, does forever irrevocably and unconditionally release, acquit and discharge the United

States and the Secretary of Health and Human Services from any and all actions or causes of

action (including agreements, judgments, claims, damages, loss of services, expenses and all

demands of whatever kind or nature) that have been brought, could have been brought, or could

be timely brought in the Court of Federal Claims, under the National Vaccine Injury

Compensation Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out

of, any and all known or unknown, suspected or unsuspected personal injuries to or death of

petitioner resulting from, or alleged to have resulted from, the flu vaccination administered on or

about September 17, 2018, as alleged by petitioner in a petition for vaccine compensation filed

on June 7, 2019, in the United States Court of Federal Claims as petition No. 19-845V.

       14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.
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        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged SIRVA

injury and/or any other injury.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION

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Respectfully submitted,

PETITIONER:

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MARLENE GALLICHAN


ATTORNEY OF RECORD FOR                                       AUTHORIZED REPRESENTATIVE
PETITIONER:                                                  OF THE ATTORNEY GENERAL:



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B rdette Law                                                 Deputy Director
249 Main Ave. S .• Suite 107 #333                            Torts Branch
North Bend, WA 98045                                         Civil Division
(206) 890-803 7                                              U.S. Department of Justice
leeburdette@burdettelaw.org                                  P.O. Box 146
                                                             Benjamin Franklin Station
                                                             Washington, DC 20044-0146


AUTHORIZED REPRESENTATIVE                                    ATTORNEY OF RECORD FOR
OF THE SECRET ARY OF HEALTH                                  RESPONDENT:
AND HUMAN SERVICES:
George R. Grimes -       DlgltallysignedbyGeorgeR.           U---><-; ~ ¼c-4~ JpT~
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CDR GEORGE REED GRIMES, MD, MPH                              WEI KIT (RlCKY) TAI
Director, Division of Injury                                 Trial Attorney
 Compensation Programs                                       Torts Branch
Health Systems Bureau                                        Civil Division
Health Resources and Services                                U.S. Department of Justice
 Administration                                              P.O. Box 146
U.S. Department of Health                                    Benjamin Franklin Station
 and Human Services                                          Washington, DC 20044-0146
5600 Fishers Lane, 08N 1468                                  (202) 598-7705
Rockville, MD 20857                                          Wei. Tai@usdoj.gov



Dated:   6 S /z-'-f IZ<Jl-,2._
